Case 8:22-cv-01622-TPB-J_S Document 56 Filed 07/18/23 Page 1 of 2 PageID 310
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                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                          July 18, 2023

Clerk - Middle District of Florida
U.S. District Court
801 N FLORIDA AVE
TAMPA, FL 33602-3849

Appeal Number: 23-11907-C
Case Style: USA v. Neelam Uppal
District Court Docket No: 8:22-cv-01622-TPB-JSS

The enclosed copy of the Clerk's Order of Dismissal for failure to prosecute in the above
referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4.

Any pending motions are now rendered moot in light of the attached order.

Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




Enclosure(s)




                                                               DIS-2 Letter and Entry of Dismissal
Case 8:22-cv-01622-TPB-J_S Document 56 Filed 07/18/23 Page 2 of 2 PageID 311
  USCA11 Case: 23-11907 Document: 8 Date Filed: 07/18/2023 Page: 2 of 2




                       IN THE UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT

                                          ______________

                                          No. 23-11907-C
                                          ______________

UNITED STATES OF AMERICA,

                                                     Plaintiff - Appellee,

versus

M.D. NEELAM TANEJA UPPAL,

                                             Defendant - Appellant.
                       __________________________________________


                          Appeal from the United States District Court
                               for the Middle District of Florida
                       __________________________________________

ORDER: Pursuant to the 11th Cir. R. 42-1(b), this appeal is DISMISSED for want of
prosecution because the appellant Neelam Taneja Uppal failed to pay the filing and docketing
fees to the district court, or alternatively, file a motion to proceed in forma pauperis in district
court and file a Transcript Order Form and failed to comply with the rules on Certificates of
Interested Persons and Corporate Disclosure Statements within the time fixed by the rules.

Effective July 18, 2023.

                                        DAVID J. SMITH
                             Clerk of Court of the United States Court
                                of Appeals for the Eleventh Circuit

                                                             FOR THE COURT - BY DIRECTION
